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                                                                          CHARLES H. CHEVALIER
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                                                      February 5, 2025

 VIA ECF

 Honorable Brian R. Martinotti, U.S.D.J.
 United States District Court
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

 Re: In re Selenious Acid Litigation, No. 2:24-cv-07791 (BRM) (CLW) (Consolidated)
     American Regent, Inc. v. Dr. Reddy’s Laboratories, Inc. et al., No. 2:24-cv-7799 (BRM)(CLW)
     American Regent, Inc. v. Dr. Reddy’s Laboratories, Inc. et al., No. 2:24-cv-11114 (BRM)(CLW)


 Dear Judge Martinotti:

         We, along with Sterne, Kessler, Goldstein & Fox P.L.L.C., counsel for Plaintiff
 American Regent, Inc., and Rivkin Radler LLP and Perkins Coie LLP, counsel for Defendants
 Dr. Reddy’s Laboratories Inc. and Dr. Reddy’s Laboratories, Ltd., jointly submit the attached
 Consent Judgment for the Court’s consideration. If Your Honor finds this document acceptable,
 the parties respectfully request that Your Honor execute the document and direct its entry on the
 docket.

        Should the Court require anything further, the parties will make themselves available at
 the Court’s convenience. The parties thank the Court for its time and assistance in this matter.



                                                      Respectfully submitted,

                                                      s/ Charles H. Chevalier
                                                      Charles H. Chevalier


 cc: All counsel of record via ECF and counsel for Dr. Reddy’s Laboratories Inc. and Dr. Reddy’s
 Laboratories Ltd. via e-mail
